                           DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for Plaintiff's failure to comply with the court's request to submit a completed Authorization to Represent designating a representative for Brian L. Fitterer, Inc.
On March 10, 2009, Plaintiff filed a Complaint with the court. On March 12, 2009, the court sent a letter to Plaintiff at 19772 MacArthur Boulevard Suite 200, Irvine CA 92612, requesting an Authorization to Represent form be filed on behalf of Brian L. Fitterer, Inc. The court also requested a copy of an order from the Marion County Board of Property Tax Appeals. That letter was not returned as undeliverable and the court received no response to its March 10, 2009, letter.
On April 3, 2009, another letter was sent to Plaintiff at the same address, again requesting a completed and signed Authorization to Represent form. That letter stated that the court is unable to set this matter for case management conference until a representative has been appointed for Brian L. Fitterer, Inc. That letter further stated that Plaintiff's failure to respond to the court's communications might indicate it did not wish to pursue its appeal and the court might dismiss the appeal. That letter was not returned as undeliverable and the court received no response to its April 3, 2009, letter. *Page 2 
On May 5, 2009, another letter was sent to Plaintiff at the same address. That letter confirmed Plaintiff had not responded to the court's prior letters. The court again wrote that it was unable to set the matter for case management conference and would dismiss the appeal if no response was received by May 19, 2009. That letter was not returned as undeliverable and the court received no response to its May 5, 2009, letter.
As of this date, Plaintiff has not responded to the court's communications. Because Plaintiff has not complied with the court's request to submit a completed Authorization to Represent, the court finds the appeal must be dismissed. Now therefore,
IT IS THE DECISION OF THIS COURT that this matter be dismissed.
Dated this day of May 2009.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Presiding Magistrate Jill A. Tanner on May26, 2009. The Court filed and entered this document on May 26, 2009. *Page 1 